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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


COLUMBIA GAS TRANSMISSION, LLC,                    )
               Plaintiff,                          )
                                                   )
       vs                                          )       Civil Action No. 17-1297
                                                   )
AN EASEMENT TO CONSTRUCT, OPERATE                  )
AND MAINAIN A 20-INCH GAS                          )
TRANSMISSION PIPELINE ACROSS                       )
PROPERTIES IN WASHINGTON AND                       )
ALLEGHENY COUNTY, PENNSYLVANIA,                    )
et al.,                                            )
                Defendants.                        )

                     HEARING ON TELEPHONE STATUS CONFERENCE

                     Before: MAGISTRATE JUDGE ROBERT C. MITCHELL

Appearing for Plaintiff:
Nicole R. Snyder Bagnell
Thomas J. Galligan

Appearing for Cecyle Klaphake, Trustee:
Steven E. Gibbs

Appearing for Robert J. Weiss:
No appearance

Appearing for Patrick Scheider:
Christopher J. Hasselhoff

Hearing begun: 4-8-19 at 1:30 p.m.

Hearing concluded: 1:40 p.m.

Stenographer: none


                                     OUTCOME

1.      Upon the representation of counsel that the claims against Robert Weiss have settled, the
        motion for summary judgment filed by Plaintiff (ECF No. 104) is withdrawn.
2.      Case on hold pending decision of Third Circuit on appeal of Cecyle Klaphake
